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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   EMILY COULTER,
                        Plaintiff,

          v.
                                                                   CIVIL ACTION
                                                                    No. 18-1538
   CHASE BANK USA, N.C.,
                   Defendant.



                                        ORDER

       AND NOW, this 30th day of September, 2020, upon review of Plaintiff’s Motion for

Summary Judgment (ECF No. 84) and Defendant’s Motion for Summary Judgment (ECF No. 86),

and all materials in support and opposition, it is hereby ORDERED that Plaintiff’s Motion is

DENIED and Defendant’s Motion is also DENIED.



                                                 BY THE COURT:


                                                 /s/ Jeffrey L. Schmehl
                                                 Jeffrey L. Schmehl, J.
